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          California Department of Corrections and
      8   Rehabilitation, N Montoya, R. Quintero, R. Davis,
          C. Burris, C. Bjorgum, V. Cullen and S. Hatton
      9

     10                               IN THE UNITED STATES DISTRICT COURT

     11                           FOR THE NORTHERN DISTRICT OF CALIFORNIA

     12                                              OAKLAND DIVISION
-,
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          TROY ALEXANDER RICHARDSON,                                   4: 18-cv-04620-YGR
     15                                                                ORDER GRANTING
                                                      Plaintiff,       STIPULATION FOR VOLUNTARY
     16                                                                DISMISSAL (Fed. R. Civ. P.
                         v.                                            41(a)(l)(A)(ii))
     17
                                                                       Judge:        The Honorable Yvonne
     18   CALIFORNIA DEPARTMENT OF                                                   Gonzalez Rogers
          CORRECTIONS AND                                              Trial Date:   None Set
     19   REHABILITATION,                                              Action Filed: July 31, 2018

     20                                             Defendant.

     21

     22         Plaintiff Troy Richardson and Defendants California Department of Corrections and

     23   Rehabilitation, N. Montoya, R. Quintero, R. Davis, C. Burris, C. Bjorgum, V. Cullen, and S.

     24   Hatton (Defendants) have resolved this case in its entirety. Therefore, the parties stipulate to a

     25   dismissal of this action with prejudice under Federal Rule of Civil Procedure 41(a)(l)(A)(ii).

     26         Each party shall bear its own litigation costs and attorney's fees.

     27   II

     28   II
                                                                   1
                              Stip. Voluntary Dismissal with Prejudice (Fed. R. Civ, P. 4l(a)(l)(A)(ii)) (4:18-cv-04620-YGR)
     Case 4:18-cv-04620-YGR                Document 119          Filed 03/09/20         Page 2 of 2



 1         It is so stipulated.

 2
 3    Dated:    ff-~. j '; ""'L--0 l..-0
                            I                               David Helbraun
 4
                                                            HELBRAUN LAW FIRM
 5                                                          Attorney for Plaintiff

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      Dated:
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15                                                   ORDER

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       IT IS SO ORDERED.
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18    Dated: March 9, 2020                                ___________________________________
19
                                                             YVONNE GONZALEZ ROGERS
                                                           UNITED STATES DISTRICT JUDGE
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                       · Stip. Voluntary Dismissal with Prejudice (Fed. R. Civ, P. 41(a)(l)(A)(ii)) (4: 18-cv-04620-YGR)
